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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 IN RE APPLICATION OF TATIANA
 AKHMEDOVA,
                       Applicant,                                  19-MC-26 (JPO)

                                                                      ORDER
 REQUEST FOR DISCOVERY
 PURSUANT TO 28 U.S.C. § 1782.


J. PAUL OETKEN, District Judge:

       A telephone conference was held in this case on September 10, 2020. For the reasons

stated on the record, the Applicant’s motion to compel is denied, and Y.Co NY’s cross-motion to

quash is granted. The denial of the Applicant’s motion to compel is without prejudice to renewal

in six months depending on the parallel state court proceedings.

       The Clerk of Court is directed to close the motion at Docket Number 28.

       SO ORDERED.

Dated: September 10, 2020
       New York, New York

                                             ____________________________________
                                                        J. PAUL OETKEN
                                                    United States District Judge
